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             NICHOLAS GOODMAN & ASSOCIATES, PLLC
                                         333 PARK AVENUE SOUTH, SUITE 3A
                                               NEW YORK, N.Y. 10010
H. NICHOLAS GOODMAN                                                                                   CAMILLE M. ABATE
PATRICK L. SELVEY, JR.
                                                      ─────                                           ROBERT P. PREUSS*
      ────                                         (212) 227-9003                                           OF COUNSEL
                                                                                                    *ALSO ADMITTED IN NEW JERSEY
 ARSLAN CHOUDHERY
       PARALEGAL


                                                                               April 15, 2025
       Via ECF
       Hon. Pamela K. Chen
       United States District Judge
       United States District Court, E.D.N.Y
       225 Cadman Plaza East, Courtroom 4F
       Brooklyn, New York 11201

                   Re:    Juan Carlos Interiano, et al. v. Arch Specialty Insurance Company
                          U.S.D.C., E.D.N.Y. Case No. 2:23-cv-238-PKC-AYS
                          Proposed Briefing Schedule for Plaintiff’s Motion to Disqualify

       Dear Judge Shields:

               This firm represents Plaintiff, Juan Carlos Interiano (“Plaintiff”) in the above-referenced
       matter. We write jointly with counsel for Defendant Arch Specialty Insurance Co. (“Arch”) to
       submit a proposed briefing schedule for Plaintiff’s motion to disqualify Defendant’s counsel due
       to a conflict of interest.

                   Counsel for the parties have conferred and have agreed to the following briefing schedule:

       April 21, 2025:            Plaintiff’s Motion Papers Due

       May 19, 2025:              Defendant’s Opposition Papers Due

       May 30, 2025:              Plaintiff’s Reply Papers Due

              If approved, the parties will electronically file their respective motion papers when the
       motion is fully briefed on May 30, 2025, or on such other date as this Court orders. Plaintiff
       requests oral argument on the motion.

                                                                       Very truly yours,



                                                                       Patrick L. Selvey
       cc:         All counsel of record (via ECF)
